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                           UN ITED STA TES DISTRIC T C O U RT
                           SO U TH ER N D ISTW C T O F FLO R ID A

                                 CA SE N O .16-20965-C R4 %

 IJN ITED STA TE S O F AM ERIC A

 VS.

 M A RITZA G A RC IA D UM W ES,

               Defendant.


                                     PLEA A G R EEM EN T

        TheUnitedStatesAttorney'sOfficefortheSouthernDistdctofFlorida(çttllisOffice''land
 M aritza Garcia Duartes (hereinafterreferred to asthe Gr efendanf')enter into the following
 agceem ent:

               The D efendant agrees to plead guilty to Count 1 of the Indictm ent,w hich count

 chargestheD efendantw ith conspiracyto com m itcargo theft,in violation ofTitle 18,U nited States

 Code,Section 371.

            This O ftk e agrees to seek dism issalofthe rem aining Counts ofthe Indictm ent,as to

 thisD efendant,after sentencing.

            TheD efendantisawarethatthesentence willbeim posedbythe Courtafterconsidedng

 the advisory Federal Sentencing Gùidelines and Policy Statements (hereinafter Eçsentencing
 Guidelines'). The Defendantacknowledges and understandsthatthe Courtwillcompute an
 advisory sentence tm der the Sentencing Guidelines and that the applicable gttidelines w ill be

 determ inedby theC ourtrelying in parton theresultsofapre-sentence investigation by theCourt's

 probation office,which investigation w illcom m ence after the guilty plea hasbeen entered. The

 Defendantis also aw are that,tm dercertain circum stances,the Courtm ay departf'
                                                                                rom the advisory
                                                1
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 sentencing guideline range thatithas computed,and m ay raise orlowerthatadvisory sentence

 underthe Sentencing G uidelines. The D efendantis furtheraw are and understandsthatthe Court

 isrequired to considerthe advisory guideline range determined underthe Sentencing Guidelines,

 butisnotbôund to im pose asentence within thatadvisory range;the Courtisperm itted to tailor
 the ultim ate sèntence in lightof other statm ory concem s,and such sentence m ay be eitherm ore
                                                              h
 severe or less severe than the Sentencing Guidelines'advisory range. Know ing these facts,the

 Defendantunderstands and acknow ledges thatthe Courthas the authority to im pose any sentence

 within and up to thestatutory maximllm authorized by law fo#theoffenseidentified in parap aph

 1and thattheDefendantm ay notwithdraw thepleasolely asaresultofthe sentenceimposed.

        4. The D efendant also tm derstands and acknow ledges that the Court m ay im pose a
                                                                            I

 statutorymaximum term ofimprisonmentofuptofive(5)years,followedbyaterm ofsupervised
 releaseofup totllree(3)years.J.
                               naddition to aterm ofimprisonmentandsupervisedrelease,the
 Courtm ay impose afine ofup to $250,000.
        5. The D efendantfurtherunderstands and acknow ledges that,in addition to any sentence

 im posed under paragraph 4 of tllis agreem ent, a special assessm ent in the am ount of

 $100 willbe imposed on the Defendant. The D efendant agrees that any special assessm ent
 im posed shallbe paid atthe tim e ofsentencing. If a Defendantis financially unable to pay the

 specialassessm ent,the D ef:ndantagrees to presentevidence to this O ffice and the Courtatthe

 tim e ofsentencing as to the reasons for the D efendant'sfailure to pay.

        6. This O ffice reserves the rightto inform the Cout'tand the probation office ofa11facts

 pertinent to the sentencing process,including all relevant inform ation concem ing the offenses

 com m itted,whether charged or not,as w ell as concerning the D efendant and the D efendant's

 backgrotmd. Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
                                                 2
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 contained in thisagreement,thisOffice furtherreservesthedghtto makeany recom m endation as

 to the quality and quantity ofpunishm ent.

               ThisOffice agrees thatitwillrecom mend atsentencing thatthe Courtredpce by

 tw o levelsthesentencing guideline levelapplicable to the Defendant'soffense,pursuantto Section

 3E1.1oftheSentencing Guidelines,based upon theDefendant'srecognition and affirmative and

 tim ely acceptance ofpersonalresponsibility.Ifatthe tim e ofsentencing the Defendant's offense

 levelisdetermined to be 16 or greater,this O ffice willfile a m otion requesting an additionalone

 level decrease pursuantto Section 3E1.1(b) of the Sentencing Guidelines,stating thatthe
 Defendant has assisted authodties in the investigation or prosecution of the D efendant's ow n

 m isconductby tim ely notifying authodties ofthe D efendant's intention to entera plea of guilty,

 thereby perm itting the governm entto avoid preparing fortrialand perm itting the governm entand

 the Courtto allocate theirresourcesefficiently. H ow ever,tlzisO ffice w illnotbe required to m ake
                                                                    .




 tlliésentencingrecommendationandthismotioniftheDefendant:(1)failsorrefusestomake111,
 accurate and com plete disclosure to the probation office of the circum stances surrotm ding the

 relevantoffenseconduct;(2)isfound tohave misrepresented factsto the governmentpdorto
 entedng this plea agreement;or (3) commits any misconduct after entering into tllis plea
 agreem ent,including butnotlim ited tq com m itting a state or federaloffense,violating any term

 ofrelease,orm aldng false statem entsorm isrepresentationsto any governm entalentity orofficial.

        8.      This O ffice and the Defendant agree that,althoug,
                                                                 h not binding on the probation

 officeortheCourt,theywilljointlyrecommendthattheDefendantreceiveafour-leveldecrease
 forherminimalroleintheoffense,pursuantto Section 3B1.2(a)oftheSentencingGuidelines.
        9. The D efendant is aw are that the sentence has not yetbeen detenuined by the Court.

 The D efendant also is aw are thatany estim ate of the probable sentencing range or sentence.
                                                                                             that
                                                 3
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 the Defendantm ay receive,whether that estim ate com es from the Defendant's attom ey,this

 Office,ortheprobation office,isaprediction,notapromise,andisnotbinding on thisOffice,the

 probation office or the Cotu't.The D efendant understands further that any recom m endation that

 this O ftice m akesto the Courtas to sentencing,w hetherplzrsuantto thisagreem entor otherwise,

 isnotbinding on the Courtand the Cotu'tm ay disregard therecom m endation in itsentirety. The

 Defendanttm derstandsand acu ow ledges,aspreviously acknow ledged in paragraph 3 above,that

 the D efendant m ay not w ithdraw her plea based upon the Court's decision not to accept a

 sentencing recom m endation m ade by the D efendant, this O ffice, or a recom m endation m ade

 jointlybytheDefendantandthisOffice.
        10.     The Defendant also agrees to assist this O ffice in a11 proceedings, whether

 administrative orjudicial,involving the forfeiture to the Urlited States ofa11rights,title,and
 interest,regardlessoftheirnature orform ,in allassets,including realand personalproperty,cash

 and other m onetary instnlm ents, wherever located, which the D efendant or others to the

 D efendant's know ledge have accum ulated as a resultof illegalactivities. Such assistance will

 involvetheDefendant'sagreementtotheentryofanorderenjoiningthet'
                                                               ransferorencumbranèe
 ofassetsthatmaybeidentifiedasbeingsubjecttoforfeiture. Additionally,Defendantagreesto
 identifyasbeing subjecttoforfeiturea11such assets,andtoassistin thetransferofsuchproperty
 to the United States by delivery to this O ftk e upon this Office's reqgest, al1 necessary and
                                                            f
 appropriate doclzm entation with respectto said assets,including consentsto forfeittzre,quitclaim

 deeds and any and a11 other docum ents necessary to deliver good and m arketable title to said

 property.

                The Defendantis aw are thatTitle 18,United States Code,Section 3742 and Title

 28,United VtatesCode,Section 1291afford theDefendanttherightto appealthesentenceimposed
                                                 4
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 in thiscase. Acknowledging this,in exchange fortheundertakingsm adeby theUnited Statesin

 thisplea agreem ent,theDefendanthereby waivesa11rightsconfen'
                                                             ed by Sections3742 and 1291

 to appealany sentenceimposed,including anyrestitution order,orto appealthem annerin which

 thesentencewasimposed,unlessihesentence exceedsthemaximum permittedby stattzteoristhe
 resultofan upward departure and/oran upward variance from theadvisory guideline range that

 the Courtestablishes at sentencing. The Defendant further understands that nothin'
                                                                                  g in this

 agreem entshallaffectthegovernm ent'srightand/ordutytoappealassetforth in Title 18,United

 StatesCode,Section 3742(b)andTitle28,United StatesCode,Section 1291. However,ifthe
 Urlited States appeals the Defendant's sentence pursuantto Sections 3742(b)and 1291,the
 D efendantshallbereleased from the above w aiverofappellaterights. B y signing thisap eem ent,

 the D efendant acknow ledges thatthe D efendanthas discussed the appealw aiver setforth in tllis

 agreem entwith the Defendant's attorney.

                D efendantrecognizes thatpleading guilty m ay have consequences with respectto

 the D efendant's im m igration stattls if the D efendant is not a natural-bom citizen ofthe U nited

 States. U nderfederallaw ,a broad range ofcrim es are rem ovable offenses,including the offense

 to w hich D efendantispleading guilty.ln addition,under certain circum stances,denaturalization

 m ay also be a consequence of pleading guilty to a crim e. R em oval,denatm alization,and other

 immigration consequences are the subjectofa separate proceeding,however,and Defendant
 understandsthatno one,including theDefendant'sattom ey ortheCotut can pre'
                                                                          dictto acertainty

 the effect of the D efendant's conviction on the D efendant's im m igration status. Defendant

 nevertheless aftirm s that the Defendant w ants to plead guilty regardless of any im m'igration

 consequences thatthe D efendant's plea m ay entail,even if the consequence is the D efendant's

 denam ralization and autom atic rem ovalfrom the United States.
                                                 5
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           13. Tllisistheentireagreem entand understandingbetweenthisOfficeandtheDefendant.

 There are no otheragreem ents,prom ises,representations,or understandings.


                                              BEN JA M W G .G REEN BER G
                                              A CTW G U N ITED STA TES A TTORN EY


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                                         BRIAN J.SHA CK
                                              A SSISTAN T U N ITED STA TES A TTORN EY


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